Case 1:17-cv-04327-LLS-RWL Document 4-13 Filed 06/09/17 Page 1 of 53

    

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EXHIBIT B
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5/30/2017 ndap Mail - Fwd: RE:
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~~ EE C| [ Mike Dash <mdash@ndap-llc.com>
4 byGoogle
Fwd: RE:
Michael Dash <mdash@ndap-ilc.com> Tue, Apr 18, 2017 at 10:23 PM

To: Jeffrey Rothman <jrothman@srrlaw.com>

Jeff - first draft of the agreement.
Please review and let's discuss.

Thank you
Michael

Begin forwarded message:

From: Jeremy Falk <jeremy.falk@gmail.com>
Date: April 18, 2017 at 9:58:53 PM EDT

To: Michael Dash <mdash@ndap-llc.com>
Subject: Fwd: RE:

See below. Just came through. Included details for lawyer review. Let's discuss tomorrow.

| am attaching a draft of the contract from our lawyer. | have highlighted two sections in yellow
‘ that | know will need a little work. The first is a list of what we are actually acquiring. The
NL second is the section that describes the monthly payment. | am having our CFO review it, as |
feel the way it is worded now, it may trigger the debt covenant we have with our bank and we
definitely want to avoid any bank review contingency on this deal. It may need to be worded
more like an agreed upon "royalty payment."

With that said, please let me know if you have any issues with the remaining portions of the
document. We can be ready to close by month-end.

 

its, Car Part Kings Asset Purchase Agreement - v.1 - DMD Draft 4-14-17.docx

 

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5/30/2017 ndap Mail - RE: CPK
G iv. g Mike Dash <mdash@ndap-llc.com>
tyes ule
RE: CPK
David Gitman <dgliman@ndap-lic.com> Thu, May 25, 2017 at 5:27 PM

To: Michael Dash <mdash@ndap-llc.com>
Cc: “Jeffrey E. Rothman" <jrothman@sriaw.com>, Jeremy Falk <jeremy.falk@gmail.com>, Joel Liebman
<joel@ighaccountants.com>, Umar Farooq <umar@farooqco.com>
Joel,
Thank you for taking my call. | look forward to reviewing the accounting on Tuesday.
On Thu, May 25, 2017 at 4:50 PM David Gitman <dgitman@ndap-llc.com> wrote:
: Hi Joel,

|! have had an accounting to create the true up in my previous email. Can you please validate this accounting on behalf
of company, CSV and NDAP.

Thank you.

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~ Exhibit 45 -
 

 

 

 

 

 
 

    

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Banlcof America <=

P.O. Box 15284
Wilmington, DE 19850
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COOPER SQUARE VENTURES, LLC
1010 NORTHERN 8LVD STE 208
GREAT NECK, NY 11021-5320

>Your Business Advantage Checking

Bus Platinum Privileges
for April 1, 2017 to April 30, 2017
COOPER SQUARE VENTURES, LLC

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Account summary

 

 

 

 

 

Beginning balance on April 1, 2017 $65,974.80
Deposits and other credits 28,026.53
: Withdrawals and other debits -20,517.94
Checks -0.00
Service fees -46.53
» Ending balance on April 30, 2617 $73,436.86

Your account has overdraft protection provided by deposit account number
4830 3957 3510.

Bank of America Business Advantage

Our country is built on businesses like yours

to long-term growth. Visit bankofamerica.com/blaweek today.

Bank of Amerka, NA ©2017 Bank of America Corporation. | ARSG7DYC | SSM-01-17-2126B

Ne in citles and towns across the country, we celebrate business owners like you during
Natlonal Small Business Week, April 30-May 6, and throughout the month of May,

Whatever the size of your business, we take the time to help you find the smartest path

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Customer service Information

O) 1,888.BUSINESS (1 888.287.4637)

Ly) bankofamerica.com

€a Bank of America, NA.
P.O. Box 25118
Tampa, FL 33622-5118

Account number: 4830 3825 7345

# of deposits/credits: 30

# of withdrawals/debits: 18

# of items-previous cycle’: 0

# of days in cycle: 30

Average ledger balance: $70,730.70

'ncludes checks paid.deposited iems&other debits

on

 

 
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- Exhibit 46 \ -
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BankofAmerica

06/05/17

RE: Requested Information
Name: Michael Dardashitian
RE: Cooper Square Ventures, LLC

To Whom it May Concern

This letter is confirm that for business account xxxxxxxx7345 at Bank of America for Cooper Square
Ventures, LLC there were two Teller Tranfers completed at the Financial Center in Easton, PA. The

first one was for 50,000.00 and the second one for 23982.53. Both of these transfers were sent to

account Xxxxxxxx5141 and both posted on 05/30/2017.

Best Regards,

Small Business
Customer Service
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Case Number 1281-1385078169
oo ae ; / . a Account(s) ending: ‘In-73.45
COOPER: SQUARE VENTURES, LLC ° Date
1010 NORTHERN BLVD STE 208 = june-7,2017
GREAT NECK NY 11021-5320 " Customer service
Co os 800.432.1000
Account information

bankofamerica.com

We received your: request for information on account
transactions.

Our records indicate that the following electronic transaction(s) posted to your account:

Date Amount —_—— Transaction Description

May 30,2017 _ $23,982.53 PATER transfer to CHK 5141-David M. Gitman
a Banking Ctr NORTHWOOD @ig4043 PA

- Confirmation# Gieees2s “

Authorized by’ bavid M Gitman

.

 

"May 30,2017 $50,000.00, PAS TLR transfer t to CHK 5141- David M. Gitman

   
  

 

 

 

 
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Exhibit 47 -
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5/29/2017 ndap Mail - Account Alert: Balance Below $25

z [ Mike Dash <mdash@ndap-lic.com>

 

» byGoogle:

 

Account Alert: Balance Below $25

 

‘Bank of America’ via Partners <partners@ndap-lic.com> Sat, May 27, 2017 at 1:21 PM
Reply-To: Bank of America <reply-febe11707c63027b-30_HTML~-219458820-73720-2160778@ealerts.bankofamerica.com>

To: partners@ndap-lic.com

 

BankofAmerica

Hi, NDAP, LLC, your account balance is low

 

Account: Cooper Square Ventures - 7345
Balance: below $ 2 5
4 When: May 27, 2017 at 10:30 a.m. ET

iew account detailst

 

‘We're sending this alert as a courtesy.

If you'd like to know your balance before your account reaches $25, sign in
to Online Banking or the Mobile Banking app and activate the Low Balance
alert with an amount that's right for you.

Did you know Overdraft Protection can help when
your account falls short?

 

Learn about Overdraft Protection

aa Your last sign-in was 05/27/2017
hups://mail .google.com/mail/w l/?ui=2&ik=cc55727el c&eview=pt&mse= | Scdaedaa2a980a7 &search=inbox&siml=] Scdaedaa2a980a7 2
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5129/2017 ndap Mail - Account Alert: Balance Below $25

To verify that this email is from Bank of America, confirm your last sign-in date is correct. To access Online or
Mobile Banking, go directly to bankofamerica.com or use our Mobile Banking app.

Remember: We never ask for private information such as an account number, card PIN, or Social Security or
Tax ID number in email messages. If you think an email is suspicious, don't click on any links. Instead, forward
it to abuse@bankofamerica.com and delete it.

This is a service email from Bank of America. Please note that you may receive service emails in accordance
with your Bank of America service agreements, whether or not you elect to receive promotional email. Please
don't reply directly to this automatically generated email message.

Read our Privacy Notice.
Bank of America, N.A. Member FDIC. Equal Housing Lender tt
© 2017 Bank of America Corporation. All rights reserved.

This email was sent to: partners@ndap-lic.com

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- Exhibit 49 -
 

"RE: CPK

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sdap SGdl- RE: CPR

Mike Dash <mdash@ndap-lic.com>

 

Michael Dash <mdash@ndap-lic,com> Sal, May 27, 2017 at $:40 PM
To: David Gitman <dgitman@ndap-llc.com>

_Ce: “Jeffrey E. Rothman” <jrothman@sniaw.com>, Jeremy Falk <jeremy.fat k@gmail.com>, Joel Liebman
“'sjoel@!ghaccountants. com>, Umar Farooq <uman@faroogco.com>

Dave,

Umar has my attorncy’s info. My attomecy offend to speak with Umar provided that Umar sent confinmation in writing that he would
not be billing his services to our company. sitice he is your indepeadent attorney and not our comnpany attorncy. He refused to do so.

Td like to memorialize the very shocking events from today.

After you withdrew all of the money from our Cooper Square Ventures Bank of America accoual without my knowledge or
approval, I reecived a notification stuting the account was completely empty. I also received notifications chat bank passwords had
been changed as well as our Paypal password. This means that you have unilatcrally taken full control and locked me out of a
company that T own 50/50 with vou. You ‘then sem me a letter stating you arc unilaterally authorizing an audit which I will address
shorlly, and authorizing the continued use of a broker that I do not agrec to and a broker who you have a side business with. which I
miuiniain is a conflict of interest. All of this is very cancetning to me.

As you know. Cooper Square Ventures owns and operates Channel Reply, a business that is active and successfully running, By
depleting the bank account and leaving na capital t io run that business, you are putting a separate business of ours at risk. Should

yo Secks and auto debits that have alr zeady t been issued to satisfy the obligations of thar company bounce. then that will be a direct

5,

salt of your actions and damage Channel Reply, which | own equally with you.

Accordingty, I contacted our business attorney Jeff Rothman. While he stated that he vepresents us both and cannot take sides, he
suggested a rcasonable resolution that he belicves would be fair to bath of us. I agree with his suggestion, find it to be reasonable
and an prepared te follow it.

Jeff stated all funds should be zctumied to uur business eccount immediately and in exchange we should both agree to be co-signees
va the account, which would require a dual s Signature before any funds are withdrawn by either of us. thereby protecting the capital
of our business. Passwords must also be shared by both of us, no onc person i may lock the other person out by virtue of our equal

partnership.

- Lam relying on you, as my fiduciary partner, to act in the best interests of our busincss and put the full monies/capital funds back
inte our business account before the start of the next business day. Your actions to the contrary would rot unly be detrimental to me
but detrimental to Channel Reply.

Further, Jeff has suggested that we move ahead with the Heeipucchasc provided that we agree beforchend that ali funds from said
purchase, except those owed to Parts Authorily (since this is undisputed), be placed in escrow with him while Jocl Lichman and his

. associates conduct un audit. Once the audit is complete, Jeff suggests we < participate in a mediation and if that docs not lead to 2

resolution then an arbitration would follow. The funds would not be released to anyone except pursuant to the terms of an order from
un independent mediator of arbitrator from one of these conflict resalution 7 processes.

If you agree to Jeff's suggestion then [ct me know and Jeff will draw up a documcnt that we can both sign.
Mike

' thaet Dash

Yt@p

Tel: (645) 553-5918
mdash@ndap-lic.com } hitpvAvanw.ndap-ilc.com
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Case 1

 

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